Case O:l7-cv-61464-WPD Document 22 Entered on FLSD Docket 05/22/2018 Page 1 of 1

 

Division of Corporations

N|ay 18, 2018

ELL|OT KOZOLCHYK, ESQ.
320 S.E. QTH STREET
FORT LAUDERDALE, FL 33316

Pursuant to Chapter 48,181, F|orida Statutes, a copy of the process and initial
pleading, case number 17-61464-C|V, was accepted for NATIONWIDE HVAC
CORP, and was filed on May 17, 2018, at 03:00 PM.

Plainh'ff(s)

ALFRED CLARK, .JF\., JASON ADOLPHUS DAV|DS,

_VS_

Defendant(s)

NAT|ONW|DE HVAC CORP, AF¢SEN GR|TSENKO and LUKASZ KOZOWY,

THE SECHETARY OF STATE DOES NOT FORWARD DOCUIV|ENTAT|ON TO
THE DEFENDANT»

A|l inquiries on beha\f of the defendant should be made to the attorneys involved.
Yvette Scott

Proce$sor of Service

DlV_ISlON OF COF\POF|AT|ONS

Letter No. 318A00010409

Division of Corporations - P.O. BOX 6327 -Tallahassee, Florida 32314

